                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK




 MAHMOUD KHALIL,

                                   Petitioner,
                                                            No. 25 Civ. 1935 (JMF)
                              v.
                                                            DECLARATION OF ACTING FIELD OFFICE
 WILLIAM P. JOYCE, et al.,                                  DIRECTOR WILLIAM P. JOYCE

                                   Respondents.


                           DECLARATION OF WILLIAM P. JOYCE

       I, WILLIAM P. JOYCE, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

       1.         I am an Acting Field Office Director (“(A)FOD”) in the New York City Field

Office of Enforcement and Removal Operations (“ERO New York”) at U.S. Immigration and

Customs Enforcement (“ICE”) within the U.S. Department of Homeland Security (“DHS”).

       2.         I am aware that Mahmoud Khalil (“Khalil”) has filed a Petition for a Writ for

Habeas Corpus before this Court.

       3.         As the (A)FOD, I am responsible for, among other things, oversight of the civil

immigration arrest and detention of aliens in the New York City area. In my role as the (A)FOD,

I have access to records maintained in the ordinary course of business by ICE, including

documentary records concerning ERO New York and the alien detainees who fall within its

responsibility.




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       4.      I provide this declaration based on my personal knowledge, reasonable inquiry,

and information obtained from various records, systems, databases, other DHS employees, and

information portals maintained and relied upon by DHS in the regular course of business.

       5.      Khalil is a native of Syria and citizen of Algeria who entered the United States

under a F1 visa on December 20, 2022.

       6.      On November 16, 2024, Khalil obtained Lawful Permanent Resident (“LPR”)

status as the spouse of a United States citizen.

       7.      On March 8, 2025, Special Agents from the ICE Homeland Security Investigations

(“HSI”) Office of the Special Agent in Charge for the New York Area of Responsibility (“AOR”)

arrested Khalil at 8:35 p.m. in front of 195 Claremont Avenue in Manhattan, New York, for the

purpose of placing him in removal proceedings. HSI transported him to 26 Federal Plaza at

8:44 p.m. While at 26 Federal Plaza, HSI served Khalil with a Notice to Appear (“NTA”), which

charged him as removable pursuant to 8 U.S.C. § 1227(a)(4)(C)(i), in that the Secretary of State

has reasonable grounds to believe that his presence or activities in the United States would have

potentially serious adverse foreign policy consequences for the United States. ICE also served

Khalil with a Notice of Custody Determination, notifying Khalil that his detention was governed

by 8 U.S.C. § 1226(a) (immigration custody during removal proceedings).

       8.      Upon completion of initial processing, ICE transported Khalil to Elizabeth

Detention Facility in Newark, New Jersey, where he was physically present and booked into the

detention facility at 2:20 a.m. Eastern Standard Time (3:20 a.m. Eastern Daylight Time) on March

9, 2025.

       9.      At the time Khalil filed a petition for a writ of habeas corpus in the Southern District

of New York, he was detained at Elizabeth Detention Facility in Newark, New Jersey.
       10.     Elizabeth Detention Facility in Newark, New Jersey has comprehensive overnight

accommodations for detainees such as beds and 24-hour medical staff whereas 26 Federal Plaza is

a Hold Room facility used for detention of individuals awaiting removal, transfer, EOIR hearings,

medical treatment, intra-facility movement, or other processing into or out of a facility and it does

not have beds or overnight medical staff.

       11.     On March 9, 2025, Khalil departed Elizabeth Detention Facility at 11:30 a.m. and

was brought to the airport to be transported to the Central Louisiana ICE Processing Facility in

Jena, Louisiana.

       12.     On March 10, 2025, Khalil was booked into the Central Louisiana ICE Processing

Facility at 12:33 a.m., and he has been detained at that detention facility since that time.



       I declare under penalty of perjury that the foregoing is true and correct.



Executed this ____ day of March 2025.

                                                           Digitally signed by WILLIAM P JOYCE
                               WILLIAM       P  JOYCE
                               ____________________________Date: 2025.03.12 21:53:13 -04'00'
                               William P. Joyce
                               Acting Field Office Director
                               Enforcement and Removal Operations
                               U.S. Immigration and Customs Enforcement
                               U.S. Department of Homeland Security
